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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al.,1                            Case No. 24-12480 (LSS)

                       Debtors.                                (Jointly Administered)


                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE
       Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission
pro hac vice of Angela K. Herring, of Wachtell, Lipton, Rosen & Katz, 51 West 52nd Street, New
York, New York 10019, to represent Matthew Avril in this action.
                                            ROSS ARONSTAM & MORITZ LLP

                                                        /s/ Adam D. Gold
                                                        Adam D. Gold (Bar No. 6412)
                                                        Holly E. Newell (Bar No. 6687)
                                                        Hercules Building
                                                        1313 North Market Street, Suite 1001
                                                        Wilmington, Delaware 19801
                                                        (302) 576-1600
                                                        agold@ramllp.com
                                                        hnewell@ramllp.com

    March 31, 2025                                      Attorneys for Matthew Avril



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      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware,
      Ohio 43015.
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          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing, and in good standing as a member of the Bar of the State of New York, and
submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the
preparation or course of this action. I also certify that I am generally familiar with this Court’s
Local Rules and with the Standing Order for District Court Fund revised 12/21/23. I further certify
that the annual fee of $50.00 has been paid to the Clerk of the Court for the District Court.

Dated: March 31, 2025                                /s/ Angela K. Herring
                                                     Angela K. Herring
                                                     WACHTELL, LIPTON, ROSEN
                                                       & KATZ
                                                     51 West 52nd Street
                                                     New York, New York 10019
                                                     (212) 403-1000
                                                     AKHerring@wlrk.com


                                ORDER GRANTING MOTION
       IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.
